        Case 4:19-cr-00252-ALM-KPJ Document 1 Filed 09/11/19 Page 1 of 1 PageID #: 1


AO 91 (Rev. 11/11) Criminal Complaint


                                    United States District Court <.  „ ,, ,,,
                                                                  jcr il i uui
                                                             for the
                                                     Eastern District of Texas L - s S:!teraC0Urt

                  United States of America )
                               v.                        )
                                                                ) Case No.
           BABATOPE JOSEPH ADERINOYE ) 4:19-MJ- £H
                                                                )
                                                                )
                                          :              )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to t e best of my knowledge and belief.
On or about the date(s) of October 1,2018 in the county of COLLIN in the
        Eastern District of Texas , the defendant(s) violated:

            Code Section Offense Description
        18U.S.C. 1343 In violation of wire fraud
        18 U.S.C. 1344 In violation of bank fraud




          This criminal complaint is based on these facts:


See attached Affidavit.




         Sf Continued on the attached sheet.



                                                                                        Complainant's sig ature




Sworn to before me and signed in my presence.



Date:             09/11/2019 1 0                Vi


City and state:                         Sherman, Texas                      Christine A. Nowak, U.S. Magistrate Judge
                                                                                         Printed name and title
